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                         UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT DISTRICT OF IN
                              INDIANAPOLIS DIVISION

In re: JUSTIN GLOVER MIDKIFF                 §       Case No. 16-03273
       TIFFANY ALISON DUNCAN                 §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Ann M. Delaney, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 04/29/2016.

       2) The plan was confirmed on 07/05/2016.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          06/30/2016, 10/16/2018, 02/21/2019.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on 09/23/2017, 09/15/2018, 05/03/2019.

       5) The case was completed on 05/08/2019.

       6) Number of months from filing or conversion to last payment: 36.

       7) Number of months case was pending: 38.

       8) Total value of assets abandoned by court order: $0.00.

       9) Total value of assets exempted: $0.00.

       10) Amount of unsecured claims discharged without full payment: $55,901.76.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




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Receipts:
      Total paid by or on behalf of the debtor(s)                $ 3,870.00
      Less amount refunded to debtor(s)                               $ 0.00
NET RECEIPTS                                                                        $ 3,870.00



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                     $ 3,500.00
       Court Costs                                                  $ 46.32
       Trustee Expenses & Compensation                             $ 244.31
       Other                                                          $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                    $ 3,790.63

Attorney fees paid and disclosed by debtor(s):                     $ 500.00



Scheduled Creditors:
Creditor                                          Claim         Claim       Claim   Principal    Interest
Name                               Class      Scheduled      Asserted    Allowed        Paid        Paid
SAWIN & SHEA LLC                   Lgl         4,000.00      3,500.00    3,500.00   3,500.00        0.00
VW CREDIT INC                      Sec             0.00      3,300.88    3,300.88       0.00        0.00
WELLS FARGO FINANCIAL              Uns         9,452.00      9,452.69    9,452.69      13.41        0.00
FORUM CREDIT UNION                 Uns             0.00      9,435.67    9,435.67      13.38        0.00
EDFINANCIAL SERVICES ON            Uns             0.00      2,250.68    2,250.68       0.00        0.00
CAPITAL ONE                        Uns             0.00      1,258.79    1,258.79       1.78        0.00
ECMC                               Uns             0.00     10,366.23   10,366.23       0.00        0.00
ECMC                               Uns             0.00      5,249.20    5,249.20       0.00        0.00
QUANTUM3 GROUP LLC                 Uns             0.00      5,523.51    5,523.51       7.83        0.00
PORTFOLIO RECOVERY                 Uns             0.00      3,324.82    3,324.82       4.71        0.00
US DEPT OF EDUCATION               Uns             0.00      7,972.15    7,972.15       0.00        0.00
US DEPT OF EDUCATION               Uns             0.00     16,451.13   16,451.13       0.00        0.00
US DEPT OF EDUCATION               Uns             0.00     34,998.23   34,998.23       0.00        0.00
MIDLAND CREDIT MANAGEMENT,         Uns             0.00      1,021.82    1,021.82       1.45        0.00
MIDLAND CREDIT MANAGEMENT,         Uns             0.00        521.30      521.30       0.74        0.00
NAVIENT SOLUTIONS INC              Uns             0.00      6,906.73    6,906.73       0.00        0.00
NAVIENT SOLUTIONS INC              Uns             0.00     22,944.55   22,944.55       0.00        0.00
NAVIENT SOLUTIONS INC              Uns             0.00     23,731.04   23,731.04       0.00        0.00



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Scheduled Creditors:
Creditor                                    Claim          Claim       Claim   Principal    Interest
Name                          Class      Scheduled      Asserted    Allowed        Paid        Paid
QUANTUM3 GROUP LLC            Uns             0.00      7,669.35    7,669.35      10.87        0.00
PORTFOLIO RECOVERY            Uns             0.00      3,122.85    3,122.85       4.43        0.00
PORTFOLIO RECOVERY            Uns             0.00      2,507.35    2,507.35       3.55        0.00
IMC CREDIT SERVICES           Uns             0.00     12,142.98   12,142.98      17.22        0.00
ANN M DELANEY, NOTICING COSTS Adm             0.00          0.00        0.00      46.32        0.00




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Summary of Disbursements to Creditors:

                                              Claim              Principal         Interest
                                              Allowed            Paid              Paid
Secured Payments:
      Mortgage Ongoing                             $ 0.00            $ 0.00            $ 0.00
      Mortgage Arrearage                           $ 0.00            $ 0.00            $ 0.00
      Debt Secured by Vehicle                      $ 0.00            $ 0.00            $ 0.00
      All Other Secured                       $ 3,300.88             $ 0.00            $ 0.00
TOTAL SECURED:                                $ 3,300.88             $ 0.00            $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                $ 0.00             $ 0.00            $ 0.00
        Domestic Support Ongoing                  $ 0.00             $ 0.00            $ 0.00
        All Other Priority                        $ 0.00             $ 0.00            $ 0.00
TOTAL PRIORITY:                                   $ 0.00             $ 0.00            $ 0.00

GENERAL UNSECURED PAYMENTS:                 $ 186,851.07            $ 79.37            $ 0.00



Disbursements:

       Expenses of Administration             $ 3,790.63
       Disbursements to Creditors                $ 79.37

TOTAL DISBURSEMENTS:                                             $ 3,870.00




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        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 07/23/2019                        By: /s/Ann M. DeLaney
                                                Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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